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    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                            No. 13-351
                                    Filed: November 26, 2014

* * * * * * * * * * * * * * * *                               UNPUBLISHED
ARLENE TROMPCZYNSKI,          *
                              *                               Special Master Hamilton-Fieldman
          Petitioner,         *
                              *
v.                            *                               Attorneys’ Fees and Costs;
                              *                               Reasonable Amount Requested
SECRETARY OF HEALTH           *                               to Which Respondent Does Not
AND HUMAN SERVICES,           *                               Object.
                              *
          Respondent.         *
* * * * * * * * * * * * * * * *

Ronald C. Homer, Conway, Homer & Chin-Caplan, P.C., Boston, MA, for Petitioner.
Michael Milmoe, United States Department of Justice, Washington, D.C., for Respondent.

                                            DECISION1

        On May 23, 2013, Arlene Trompczynski (“Petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 et seq. (2006)
(“Vaccine Act”). Petitioner alleged that she suffered from Guillain-Barre syndrome (“GBS”),
and that this injury had been caused by the Tetanus-Diphtheria-acellular Pertussis (“Tdap”)
vaccine received on August 20, 2010. Petition (“Pet”) at 1. On July 14, 2014, the undersigned
issued a decision awarding compensation to the Petitioner.

1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


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       On November 26, 2014, the parties filed a Stipulation of Fact Concerning Attorneys’
Fees and Costs. This stipulation requests a total payment of $14,150.00, representing total
attorneys’ fees and costs. In compliance with General Order #9, Petitioner represents that no
personal, out-of-pocket expenses were incurred in proceeding on the petition.

       The undersigned finds that the petition was brought in good faith and that there existed a
reasonable basis for the claim. Therefore, an award for fees and costs is appropriate, pursuant to
42 U.S.C. § 300aa-15(b) and (e)(1). Further, the proposed amount seems reasonable and
appropriate. Accordingly, the undersigned hereby awards the amount of $14,150.00, in the
form of a check made payable jointly to Petitioner and Petitioner’s counsel, Ronald C.
Homer, Esq.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation.

       IT IS SO ORDERED.

                                             s/ Lisa Hamilton-Fieldman
                                             Lisa Hamilton-Fieldman
                                             Special Master




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